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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    Yellow Corporation, et al.                                 Case No. 23-11069 (CTG)

                    Debtors.                                   Jointly Administered

                  ORDER GRANTING MOTION OF ALEXIS MCCULLY FOR
             RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

             Upon consideration of the Motion of Alexis McCully for Relief from the Automatic Stay

Pursuant to 11 U.S.C. § 362 (the “Motion”), 1 allowing Movant to initiate and proceed with the

Jefferson County, Missouri to be filed in Jefferson County, Missouri against Debtor USF Holland,

LLC, and the Court having found that notice of the Motion and the hearing on the Motion was

proper under applicable rules of procedure and provided adequate notice of the Motion and the

hearing on the Motion to all parties in interest; and the Court, having found that cause exists under

11 U.S.C. §362(d) to grant relief from stay as requested by Movant; and the Court having found

that it is in the best interests of the Debtors’ estates to grant relief from stay to allow the Movant

to commence litigation of her claims in the Missouri Action for the purposes of liquidating the

amount of such claims and collecting on any judgment entered from any available insurance

proceeds under any applicable liability insurance, it is hereby

             ORDERED that the Motion is GRANTED as set forth herein; and it is further

             ORDERED that the automatic stay of 11 U.S.C. §362(a) is modified to allow Movant to

initiate fully prosecute her claims against Debtor USF Holland, LLC in the Missouri Action to

conclusion, including through final judgment and any and all appeals therefrom; and it is further




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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           ORDERED that, subject to further modification of the automatic stay by this Court, the

Movant shall be entitled to seek recovery solely against the proceeds of any applicable liability

insurance policy; and it is further

           ORDERED that this Order shall be effective immediately upon entry by the Court; and it

is further

           ORDERED that the automatic 14-day stay provided by Federal Rule of Bankruptcy

Procedure 4001(a)(3) is hereby waived upon entry of this Order.




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